   Case: 1:20-cv-01045 Document #: 112 Filed: 02/13/24 Page 1 of 3 PageID #:2305




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

JOHN A. SCATCHELL,                                   )
                                                     )
                              Plaintiff,             )
                                                     )
                       v.                            )       Case No: 20 CV 1045
                                                     )
VILLAGE OF MELROSE PARK, an Illinois                 )       Honorable Steven C. Seeger
Municipal Corporation, , RONALD SERPICO,             )
SAM PITASSI, MICHAEL CASTELLAN,                      )
and PETER CAIRA,                                     )
                                                     )
                              Defendants.            )

       DEFENDANTS’ UNOPPOSED MOTION FOR AN EXTENSION OF TIME
      TO ANSWER OR OTHERWISE PLEAD TO THE AMENDED COMPLAINT

       NOW COME Defendants Village of Melrose Park, by its attorney Jeffrey Scott Fowler of

Laner Muchin, Ltd.; Mayor Ronald Serpico, by his attorneys Austin Zimmer and Joseph

Giambrone of Del Galdo Law Group, LLC; and Director of Police Sam C. Pitassi, Deputy Chief

of Police Michael Castellan, and Ofc. Peter Caira, by their attorney, Michael D. Bersani of

Hervas, Condon & Bersani, P.C., and respectfully request that this Honorable Court grant an

extension of time for them to answer or otherwise plead to the Amended Complaint to March 22,

2024. In support of their Motion, Defendants state as follows:

       1.      This is an action by a former Melrose Park police officer who was discharged for

misconduct and whose termination was upheld on administrative review and the decisions was

affirmed by the Illinois Appellate Court. In this action, Plaintiff seeks to maintain Federal

discrimination and retaliation claims relating to his termination and the surrounding circumstances.

       2.      On February 7, 2024, Plaintiff filed an Amended Complaint containing six counts

and 155 paragraphs.
   Case: 1:20-cv-01045 Document #: 112 Filed: 02/13/24 Page 2 of 3 PageID #:2306




       3.      Two of the undersigned counsel for Defendants are actively involved in trial

preparation and the third is engaged in other significant litigation matters, and the Defendants are

therefore requesting an extension of time to March 22, 2024 to prepare and coordinate a single

comprehensive response to the Amended Complaint.

       4.      On February 13, 2024, counsel for Plaintiff stated that she does not oppose the

requested extension of time.

       WHEREFORE, Defendants jointly request that this Honorable Court grant an extension of

time for them to answer or otherwise plead to the Amended Complaint to March 22, 2024, and

that the Court grant such further and additional relief as is just and proper.

Respectfully submitted,


s/ Michael D. Bersani                                  1441 South Harlem Avenue
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Caira

s/Jeffrey Scott Fowler
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s/K. Austin Zimmer
K. Austin Zimmer
Joseph Giambrone
Del Galdo Law Group, LLC



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   Case: 1:20-cv-01045 Document #: 112 Filed: 02/13/24 Page 3 of 3 PageID #:2307




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JOHN A. SCATCHELL,                                   )
                                                     )
                              Plaintiff,             )
                                                     )
                      v.                             )       Case No: 20 CV 1045
                                                     )
VILLAGE OF MELROSE PARK, an Illinois                 )       Honorable Steven C. Seeger
Municipal Corporation, MELROSE PARK BD               )
OF FIRE AND POLICE COMM’N, RONALD                    )
SERPICO, SAM PITASSI, MICHAEL                        )
CASTELLAN, PETER CAIRA,                              )
                                                     )
                              Defendants.            )


                                CERTIFICATE OF SERVICE

      I hereby certify that on February 13, 2024, I electronically filed the foregoing Unopposed
Motion, with the Clerk of the U.S. District Court for the Northern District of Illinois using the
CM/ECF system, which will send notice to:

TO:    Gianna Scatchell Basile, Disparti Law Group, 121 W. Wacker Dr, Suite 2300, Chicago, Il 60601
       gia@dispartilaw.com

       Gianna Scatchell Basile, 121 W. Hubbard St., Suite 209, Chicago, IL 60622, gb@lawfirm.gs

       Cass T. Casper, Esq., Disparti Law Group, 121 W. Wacker Dr, Suite 2300, Chicago, Il 60601;
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       Michael D. Bersani, HERVAS, CONDON & BERSANI, P.C., 333 Pierce Road, Suite 195, Itasca,
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                                              s/ Jeffrey S. Fowler
                                              Jeffrey S. Fowler, Atty. Bar No. 06205689
                                              Attorney for Defendant Village of Melrose Park
